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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


ZACH McQUEEN and FRED                                  Civ. No. 19-2559 (DWF/BRT
KRAUTKRAMER, individually and on
behalf of others similarly situated,
                                                       ORDER ON STIPULATION
                 Plaintiffs,

           vs.

YAMAHA MOTOR CORPORATION,
U.S.A.,

                               Defendant.



      This matter is before the Court on the parties’ Stipulation to File Amended

Complaint. (Doc. No. 61.) IT IS HEREBY ORDERED that Plaintiffs may file a Third

Amended Complaint within 7 days of this Order.



Date: January 19, 2021                            s/ Becky R. Thorson
                                                  BECKY R. THORSON
                                                  U.S. Magistrate Judge




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